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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

ALMONTIE SHIELDS,

      Defendant.                                   Case No. 06-cr-30166-1-DRH


                                     ORDER

HERNDON, Chief Judge:

            This matter was referred to United States Magistrate Judge Donald G.

Wilkerson for the specific purpose of conducting a change of plea hearing for

defendant Almontie Shields, pursuant to 28 U.S.C. § 636, SDIL Rule 72.1(b)(2)

and Defendant’s consent (Doc. 479). The change of plea hearing was held on August

29, 2008 (Doc. 515) pursuant to FEDERAL RULE OF CRIMINAL PROCEDURE 11, during

which defendant Shields plead guilty to Counts 1, 3 and 4 of the Third Superseding

Indictment (Doc. 334) following a thorough colloquy with Judge Wilkerson. A Report

and Recommendation (“R&R”) (Doc. 506) was issued, recommending the Court

accept Defendant’s plea of guilty. In accordance with 28 U.S.C. § 636(b)(1)(B), the

parties were allowed ten (10) days from the issuance of the R&R to file written

objections thereto. Neither party filed timely objections. Therefore, the Court

ADOPTS the R&R (Doc. 506) in its entirety.

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             Thus, it is the finding of the Court in the case of United States v.

Almontie Shields, that defendant Almontie Shields was fully competent and capable

of entering an informed plea, that he was aware of the nature of the charges and the

consequences of the plea, and that the plea of guilty (nolo contendere) was a knowing

and voluntary plea supported by an independent basis in fact containing each of the

essential elements of the offense.   Accordingly, the Court ACCEPTS defendant

Almontie Shields’s guilty plea and ADJUDGES him GUILTY of Counts 1, 3 and 4

of the Third Superseding Indictment (Doc. 334).

             The Court also acknowledges that a Presentence Investigation Report for

defendant Shields has already been prepared by the Probation Office. Further, the

sentencing hearing for defendant Almontie Shields is hereby scheduled for

Wednesday, October 1, 2008 at 11:30 a.m.

             IT IS SO ORDERED.

             Signed this 24th day of September, 2008.




                                              /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court




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